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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

                                                                15-CR-143-V
              -v-

RASHAWN CRULE,

                Defendant.
___________________________________



                     REPORT, RECOMMENDATION, AND ORDER

              This case was referred to the undersigned by the Hon. Lawrence J. Vilardo,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

on dispositive motions. Dkt. No. 55.



              Defendant Rashawn Crule is charged in the Second Superseding

Indictment with conspiring to distribute heroin, fentanyl, and cocaine in violation of 21

U.S.C. §§ 841(a)(1), 841(b)(1)(a), and 841(b)(1)(C); conspiring to possess with intent to

distribute heroin, fentanyl, cocaine, and cocaine base in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(c), and 841(b)(1)(B); maintaining a drug involved premises in

violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2; possession of a firearm in

furtherance of drug trafficking crimes in violation of 18 U.S.C. §924(c)(1)(i); and being a

felon in possession of a firearm in violation of 18 U.S.C. § 924(a)(2). Dkt. No. 217.
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                On April 25, 2017, Mr. Crule filed a motion seeking to suppress

“statements allegedly made by defendant.” Dkt. No. 191, p. 23. 1 The motion fails to

identify which statements he seeks to suppress or the circumstances under which they

were made. Generally, he contends that he has been provided with “two typed police

reports of a statement allegedly made by the defendant, Rashawn Crule.” Dkt. No. 191,

p. 23. Without citing any facts or law, defense counsel argues generally that “[u]pon

information and belief,” the statements were “involuntary in violation of Mr. Crule’s right

against self-incrimination, taken prior to the proper administration of adequate Miranda

warnings; were taken in the absence of a knowing, voluntary and/or intelligent waiver [of]

Mr. Crule’s rights, including the right to counsel prior to questioning; and were otherwise

in violation of Mr. Crule’s rights under the United States Constitution.” Dkt. No. 191,

p. 23.



                For its part, the government contends that Mr. Crule “has not particularized

what evidence he seeks to suppress . . . [,] has not provided any affidavit of fact,” and

therefore, his motion to suppress should be denied. Dkt. No. 287, pp. 16-17.



                 A defendant seeking to suppress evidence bears the burden of showing

that disputed issues of material fact exist. United States v. Pena, 961 F.2d 333, 338 (2d

Cir.1992). I find that defendant’s suppression motion falls far short of the “sufficiently

definite, specific and non-conjectural” statement which would necessitate an evidentiary




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        Mr. Crule’s request for relief appears on the docket as “Affirmation by Rashawn Crule.” Dkt.
No. 191.


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hearing. United States v. Watson, 404 F.3d 163, 167 (2d Cir. 2005); United States v.

Pena, 961 F.2d 333, 339 (2d Cir. 1992) (internal citations omitted). Mr. Crule has not

submitted an affidavit – other than that of his attorney – which sets forth the facts under

which defendant was questioned. An attorney affidavit containing no factual details is

insufficient to raise any dispute as to whether Mr. Crule was Mirandized, questioned,

coerced into making a statement, or denied his right to counsel. See United States v.

Gillette, 383 F.2d 843, 848 (2d Cir. 1967) (holding that an attorney affidavit that does not

allege personal knowledge on the part of a defendant’s attorney does not raise a dispute

as to a factual issue which requires a hearing). For these reasons, I find that no hearing

is warranted and recommend that Mr. Crule’s motion to suppress be denied.



                                       CONCLUSION

              For the foregoing reasons, it is RECOMMENDED that defendant’s motion

to suppress (Dkt. No. 191) be DENIED.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Report, Recommendation, and Order be filed with the Clerk of the
Court.



              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with Federal Rule of Criminal

Procedure 59(b)(2) and Local Rule of Criminal Procedure 59(c)(2).


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              The parties are reminded that, pursuant to Rule 59 of the Local Rules of

Criminal Procedure for the Western District of New York, “written objections . . . shall

specifically identify the portions of the proposed findings and recommendations to which

objection is made and the basis for such objection, and shall be supported by legal

authority.” Failure to comply with the provisions of Local Rule 59 may result in the

District Judge’s refusal to consider the objection.




              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v. Mass.

Mun. Wholesale Elec. Co., 840 F.2d 985 (1st Cir. 1988). Local Rule 59(c)(3) mandates

that “[a]ny party filing objections to a Magistrate Judge’s order or recommended

disposition must include with the objections to the District Judge a written statement

either certifying that the objections do not raise new legal/factual arguments, or

identifying the new arguments and explaining why they were not raised to the Magistrate

Judge.”




       SO ORDERED.



DATED:        Buffalo, New York
              November 8, 2017



                                          s/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge

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